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                              BEFORE THE JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION

                                                               MDL NO. 3107
 IN RE: Passenger Vehicle Replacement Tires
 Antitrust Litigation


                                CERTIFICATE OF SERVICE

       Pursuant to Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, the undersigned counsel certifies that copies of the foregoing Notice of

Appearance were served on all parties in the following cases electronically via ECF, or as indicated

below, on March 20, 2024.

   1. Sampayan v. Continental Aktiengesellschaft et al., No. 1:24-cv-00881 (S.D.N.Y.)

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   2. Islami v. Continental Aktiengesellschaft et al., No. 1:24-cv-00967 (S.D.N.Y.)

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   3. Wilkerson Farms ET, LLC v. Continental Aktiengesellschaft et al., No. 1:24-cv-00970
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   5. Edwards v. Continental Aktiengesellschaft et al., No. 1:24-cv-01092-ER (S.D.N.Y.)
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   6. Torres v. Continental Aktiengesellschaft et al., No. 1:24-cv-01124 (S.D.N.Y.)

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   7. Davidov et al. v. Continental Aktiengesellschaft et al., No. 1:24-cv-01367 (S.D.N.Y.)

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   8. Link v. Continental Aktiengesellschaft et al., No. 6:24-cv-00913 (D.S.C.)

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   9. Curran et al. v. The Goodyear Tire & Rubber Company et al., No. 1:24-cv-01419
      (S.D.N.Y.)

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   10. Valenzano v. Continental Aktiengesellschaft et al., No. 6:24-cv-00948 (D.S.C.)

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   13. Stephan v. Continental Aktiengesellschaft et al., No. 5:24-cv-00408 (N.D. Ohio)

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